Case 1:11-cv-20427-KMW Document 257-8 Entered on FLSD Docket 02/13/2012 Page 1 of 2




                           E X H IB IT H
*

    Case 1:11-cv-20427-KMW Document 257-8 Entered on FLSD Docket 02/13/2012 Page 2 of 2




           From : twoon Itwoon@optusnet .com .au>
           Sent : Thursday , February 24, 2011 12:47 PM
           To : general <general@hotfile .comp
            Subject: Unable to download tv series: Hotfile (3497343,twoon@optusnet.com.au)
           Message sent from user with mail - twoon@optusnet.com .au :
           Reason: General questicn
           Username: 3497343 (3497343)
           Rank: Silver
           Status : Premium
           Suspended: No
           Remove premium : No

            lastdl: http://hctfile.com/dl/l04890321/50d4b1f/two.and.a.ha1f.men.816.hdtv-
            lol.avi.html
            ip : 210.49.206 .115 AU
            URL: http://hotfile.ccm/dl/1O4890321/50d4b1f/two.and.a.ha1f.men.8l6.hdtv-
            lol.avi.html
                                       I am no longer able to download TV series episodes via




                                           I EXHIBI
                                                  T
                                           1n5 v zF#                            HF00034459
                                           lta-n -'. e-
                                            œ
